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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF MISSISSIPPI
, REPORTER
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Mississippi State Senate 2024 - 2028
Post Office Box 1018
Jackson Mississippi 39215-1018

Juan Barnett
P.O. Box 407

Heidelberg MS 39439

[District 34
Forrest, Jasper,
Jones

Room 405
S Office: (601) 359-2224

Corractions (C); Enrolled Bills/D
(V); Appropriations;
Economic & Workforce
Development; Energy;
Judiciary A; Judiciary B;
Public Health & Welfare:
Wildlife, Fisheries & Parks

jbarnett@senate.ms.gov

Jason Barrett

{District 39

Labor (C); Accountability, R [Room 212-C jbarrett@senate.ms.gov

P.O. Box 729 Amite, Franklin, Efficiency & Transparency S Office: (601) 359-2886
Brookhaven MS 38601 Lawrence, Lincoln, _|(V); Corrections; Finance;
Pike Highways & Transportation;
Housing; Judiciary A,
Judiciary B; Medicaid
Andy Berry District 35 Agriculture (V); County R |Room 212-C aberry@senate.ms.gov
JP.O. Box 1018 Copiah, Jefferson Affairs; Economic & § Office: (601) 359-2886
Jackson MS 39215 Davis, Lawrence, Workforce Development;
Simpson Environmental Protection,
Conservation & Water
Resources; Finance;
Forestry; Highways &
Transportation; Investigate
State Offices; Judiciary B
Bradford Blackmon |District 21 Technology (V); Finance; D }Room 405 bblackmon@senate.ms.gov
P.O. Box 105 Attala, Holmes, Highways & Transportation; S$ Office: (601) 359-2224
Canton MS 39046 Leake, Madison Insurance; Judiciary A;

Labor; Medicaid; Public
Property

Kevin Blackwell |District 19 Medicaid (C); Elections (V); |R [Room 215 kblackwell@senate.ms.gov
P.O. Box 1412 DeSoto Accountability, Efficiency & S$ Office: (601) 359-2395
Southaven MS 3867 1 Transparency;

Appropriations; Business &

Financia} Institutions;

Constitution; Highways &

Transportation; Public Health

& Welfare
{David Blount District 29 Gaming (C}; Education (V); |D [Room 407 dblount@senate.ms.gov
P.O. Box 1018 Hinds Accountability; Efficiency & S$ Office: (601) 359-2220
Jackson MS 39215 Transparency; Elections;

Finance; Government
Structure; Highways &
Transportation; Medicaid;
Public Health & Welfare

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Nicole Boyd
P.O. Box 1018
Jackson MS 39215

District 9
Lafayette, Panola

Universities & Colleges (C};
Medicaid (V); Business &
Financial Institutions; County
Affairs; Drug Policy;
Education; Finance; Judiciary
A

R

Room 212-C
S Office: (601) 359-2886

nboyd@senate.ms.gov

Jenifer Branning
235 West Beacon Street
Philadelphia MS 39350

District 18
Leake, Neshoba,
Winston

Highways & Transportation
(C); Government Structure
(V); Accountability, Efficiency
& Transparency;
Appropriations; Business &
Financial Institutions;
lEconomic & Workforce
Development; Forestry;
Judiciary A

R

JRoom 212-C
S$ Office: (601) 359-2886

jbranning@senate. ms.gov

Development; Finance;
Highways & Transportation;
Municipalities; Ports &
Marine Resources;
Universities & Colleges

Gary Brumfield [District 38 Ethics (V); Corrections; D Room 409 gbrumfield@senate.ms.gov
P.O. Box 1018 Adams, Amite, Pike, |Economic & Workforce S Office: (601) 359-3237
Jackson MS 39215 Walthall, Wilkinson |Development; Finance;

Forestry; Highways &

Transportation; Ports &

Marine Resources;

Technology, Wildlife,

Fisheries & Parks
Hob Bryan |District 7 Public Health & Welfare (C); |D [Room 215 hbryan@senate.ms.gov
P.O. Box 75 Itawamba, Lee, Constitution; Education: S Office: (601)359-2395
Amory MS 38821 Monroe Elections; Finance; Highways

& Transportation; Public

Property; Wildlife, Fisheries &

Parks
Albert Butler |District 37 Investigate State Offices (C); ]D [Room 405 abutler@senate.ms.gov
P.O. Box 614 Adams, Claiborne, | Public Property (V): S Office: (601) 359-2224
Port Gibson MS 39150 = |Copiah, Franklin, Accounlability, Efficiency &

Hinds, Jefferson Transparency; Agriculture;

Appropriations; Ethics;

Highways & Transportation;

Tourism; Universities &

Colleges
Joel R. Carter, Jr. |District 49 Energy (C);Business & R [Room 215 jcarter@senate.ms.gov
P.O. Box 1300 Harrison Financial Institutions; Office: (601) 359-2395
Gulfport MS 39502 Economic & Workforce

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8 Westbrook Drive
Sumrall MS 39482

Covington, Lamar,
Marion, Walthall

|

Drug Policy; Elections;
Energy; Finance; Local &
Private; Municipalities; Public
Health & Welfare

S Office: (601) 359-3237

Lydia Chassaniol District 14 Tourism (C); Corrections R |Room 215 Ichassaniol@senate.ms.gov
P.O. Box 211 Attala, Carroll, (V);Agriculture; Constitution; Office: (601) 359-2395
Winona MS 38967 Grenada, Leflore, Elections; Energy; Finance;
Montgomery Gaming; Interstate & Federal

Cooperation
Kathy L. Chism {District 3 Enrolled Bills; Ethics; R {Roam 404 kchism@senate.ms.gov
P.O. Box 1018 Benton,Marshall, Executive Contingent Fund; Office: (601) 359-3232
Jackson MS 39215 Pontotoc, Prentiss, [investigate State Offices;

Union Labor; State Library

{Dennis DeBar, Jr. District 43 Education (C); R ]Room 214-B ddebar@senate.ms.gov
P.O. Box 1080 George, Greene, Appropriations; Energy; § Office: (601) 359-3221
Leakesville MS 39451 Wayne Gaming; Judiciary A;

Judiciary B; Public Health &

Welfare; Rules
Scott DeLano District 50 Environmental Protection, {R [Room 407 sdelano@senate.ms.gov
2310 19th Street Harrison Conservation, & Water S Office: (601) 359-2220
Gulfport, MS 39501 Resources (C); Universities &

Colleges (V); Appropriations;

Education; Highways &

Transportation; Insurance;

Ports & Marine Resources;

Technology
Jeremy England District 51 Elections (C); Ports & Marine }R [Room 409 jengland@senate.ms.gov
P.O. Box 6363 Jackson Resources (V); Enrolled Biils;}_ |S Office: (601) 359-3237
Vancleave MS 39565 Finance; Highways &

Transportation; Judiciary A;

Judiciary B; Tourism; Wildlife,

Fisheries & Parks
Joey Fillingane District 41 Judiciary B (C); Corrections; |R j/Room 409 jfillingane@senate.ms.gov

Hillman T. Frazier
P.O. Box 1018
Jackson MS 39215

District 27
Hinds

Interstate & Federal
Cooperation (C);
Appropriations; Constitution;
Elections; Energy; Insurance;
Public Health & Welfare:
Rules: Universities &
Colleges

D

Room: 407

S Office: (601) 359-2220

hfrazier@senate.ms.gov

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Development; Insurance;
Investigate State Offices;
Medicaid; Public Health &
Welfare; Public Property

Josh Harkins District 20 Finance (C); Energy; R |Room 215 jharkins@senate.ms.gov
P.O. Box 320374 Rankin Environmental Protection, Office: (601) 359-2395
Flowood MS 39232 Conservation & Water
Resources; Highways &
Transportation; Housing;
Public Health & Welfare;
Public Property; Universities
& Colleges; Wildlife,
Fisheries & Parks
Rod Hickman District 32 Municipalities (V): D [Room 409 rhickman@senate.ms.gov
2829 Jefferson Street Kemper, Lauderdale, |Appropriations; Business & S$ Office: (601) 359-3237
Macon MS 39341 Noxubee, Winston {Financial Institutions; Drug
Policy; Education; Forestry;
Judiciary B, Medicaid, Public
Health & Welfare
Angela Burks Hill District 40 Constitution (C); Drug Policy |R |Room 404 ahill@senate.ms.gov
P.O. Box 1018 Pearl River, Stone —_|(V); Agriculture; S$ Office: (601) 359-3232
Jackson MS 39215 Appropriations; Corrections;
Investigate State Offices;
Judiciary B; Municipalities;
Public Health & Welfare
|Briggs Hopson District 23 Appropriations (C); R [Room 214-B bhopson@senate.ms.gov
1201 Cherry Street Issaquena, Madison, |Accountabilily, Efficiency & Office: (601) 359-3250
Vicksburg MS 39183 Warren, Yazoo Transparency; Education;
Energy; Judiciary A; Ports &
Marine Resources; Public
Health & Welfare;
Universities & Colleges
John Horhn District 26 Housing (C); Veterans & D |Room 215 jhorhn@senate.ms.gov
P.O. Box 2030 Hinds, Madison Military Affairs (V); Business $ Office: (601) 359-2395
Jackson MS 39225 & Financial Institution;
Energy; Finance; Labor;
Medicaid; Tourism
Reginald Jackson District 11 State Library (V); Agriculture; |D |Room 404 rjackson@senate.ms.gov
P.O. Box 258 Coahoma, DeSoto, Appropriations; Corrections; S Office: (601) 359-3232
Marks MS 38646 Quitman, Tate, County Affairs; Drug Policy;
Tunica Environmental Protection,
Conservation & Water
Resources, Ethics, Gaming
Chris Johnson |District 45 Government Structure (C); |R |Room 407 chjohnson@senate.ms.gov
P.O. Box 18247 Forrest, Perry Finance (V); Constitution; S$ Office: (601) 359-2220
Hattiesburg MS 39404 Economic & Workforce

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|David L. Jordan District 24 Enrolled Bills (C); Agriculture;]D |Room 405 djordan@senate.ms.gov
P.O. Box 8173 Leflore, Panola, Drug Policy; Environmental § Office: (601) 359-2224
Greenwood MS 38930 __—‘|Tallahatchie Protection, Conservation &
Water Resources; Finance;
Housing; Municipalities; State}
Library; Veterans & Military
Affairs
Dean Kirby |District 30 Rules (C); Corrections; R [Room 307 dkirby@senate.ms.gov
P.O. Box 54099 Rankin County Affairs; Ethics; S Office: (601) 359-4089
Pearl MS 39288 Finance; Insurance;
Interstate & Federal
Cooperation; Judiciary A;
Municipalities
/Philman Ladner District 46 Wildlife, Fisheries & Parks |R |Room 213 pladner@senate.ms.gov

Ridgeland MS 39157

Forestry; Housing; Interstate
& Federal Cooperation;
Universities & Colleges:
Veterans & Military Affairs

P.O. Box 1018 Hancock, Harrison |(V); Agriculture; Finance; Office: (601) 369-4088
Jackson MS 39215 Gaming; Municipalities; Ports

& Marine Resources; Public

Property; Tourism
Tyler McCaughn District 31 Forestry (C); Judiciary A (V); |R [Room 407 tmccaughn@senate.ms.gov
P.O. Box 28 Lauderdale, Newton, |Agriculture; Appropriations; $ Office: (601) 359-2220
Newton MS 39345 Rankin, Scott Energy; Government

Structure; Judiciary B;

Universities & College
|Michael W.McLenden [District 1 State Library (C); Insurance |R |Room 404 mmclendon@senate.ms.gov
P.O. Box 1018 DeSoto (V); Appropriatons; $ Office: (601) 359-3232
Jackson MS 39215 Education; Environmental

Protection, Conservation &

Water Resources; Gaming;

Labor; Veterans & Military

Affairs; Wildlife, Fisheries &

Parks
Chad McMahan District 6 Municipalities (C); Business }R [Room 212-C cmcmahan@senate.ms.gov
P.O. Box 1018 Lee & Financial Institutions (V); S Office: (601) 359-2886
Jackson MS 39215 Education; Energy; Executive

Contingent Fund; Finance;

Insurance; Medicaid; Public

Health & Welfare
J. Walter Michel District 25 Insurance (C); Rules (V); R [Room 242-C wmichel@senate.ms.gov
241 Richardson Road Hinds, Madison Appropriations; Energy; S Office: (601) 359-2886

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Page 7 of 9

Sollie B. Norwood
P.O. Box 20192
Jackson MS 39289

District 28
Hinds

Executive Contingent Fund
(C); Interstate and Federal
Cooperation (V):
Appropriations; Education;
Government Structure;
Judiciary B; Municipatities;
Tourism; Universities &
Colleges

D |Room 405
S Office: (601) 359-2224

snorwood@senate.ms.gov

|David L. Parker
6947 Crumpler Bivd.
Olive Branch MS 38654

District 2
DeSoto

Accountability, Efficiency &
Transparency (C); Public
Health & Welfare (V);
Appropriations; Drug Policy;
Economic & Workforce
Development; Education;
Elections; Government
Structure; Judiciary A

R jRoom 213
Office: (601) 359-4088

dparker@senate.ms.gov

Rita Potts Parks
P.O. Box 303
Corinth MS 38835

District 4
Alcorn, Tippah

Local & Private (C);
Highways & Transportation
(V); Appropriations; Business
& Financial Institutions;
County Affairs; Energy;
Investigate State Offices;
Medicaid; Public Health &
Welfare

R |Room 404
$ Office:(601)359-3232

rparks@senate.ms.gov

John Polk
P.O. Box 1018
Jackson MS 39215

District 44
jLamar

Business & Financial
Institutions (C);
Appropriations (V);
Education; Environmental
Protection, Conservation &
Water Resources; Finance;
Medicaid; Public Health &
Welfare; Universities &
Colleges

R [Room 212-C
$ Office: (601) 359-2886

jpolk@senate.ms.gov

Brian Rhodes
P.O. Box 1018
Jackson MS 39215

District 36
Rankin, Smith

Forestry (V); Agriculture;
County Affairs; Drug Policy;
Finance; Highways &
Transportation; Insurance;
Labor; Technology

R [Room 213
Office: (601) 359-4088

brhodes@senate.ms.gov

Robin Robinson
P.O. Box 1963
Laurel MS 39441

|District 42
Forrest, Greene,
Jones, Wayne

Tourism (V); Appropriations;
Drug Policy; Economic &
Workforce Development;
Education: Environmental
Protection, Conservation &
Water Resources;
Municipalities; Technology;
Veterans & Military Affairs

R |Room 407
§ Office: (601) 359-2220

rrobinson@senate.ms.gov

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Page 8 of 9

Joseph M. “Mike"

District 47

Ethics (C); County Affairs (V);

R

Room 405

mseymour@senate.ms.gov

Highways & Transportation;
Local & Private; Public
Health & Welfare;
Technology; Tourism

Seymour Harrison, Jackson, Agriculture; Appropriations; $ Office: (601) 359-2224
P.O. Box 1018 Stone Forestry; Investigate State
Jackson MS 39215 Offices; Ports & Marine

Resources; Wildlife,

Fisheries & Parks
Derrick T. Simmons District 12 County Affairs (C); D |Room 405 dsimmons@senate.ms.gov
P.O. Box 1854 Bolivar, Coahoma, | Constitution (V); Finance; S Office: (601) 359-2224
Greenville MS 38702 Washington Gaming; Judiciary A;

Judiciary B; Municipalities;

Ports & Marine Resources
Sarita Simmons District 13 Investigate State Offices (V); |D |Room 404 ssimmons@senate.ms.gov
P.O. Box 1813 Bolivar, Sunflower, [Agriculture; Appropriations; § Office: (601) 359-3232
Cleveland MS 38732 Tallahatchite Corrections;

Education;Ethics; Housing;

Labor;Tourism
{Daniel Sparks {District 5 Economic & Workforce R |Room 409 dsparks@senate.ms.gov
P.O. Box 218 Itawamba, Prentiss, |Development(C); Judiciary B} |S Office: (601) 359-3237
Belmont MS 38827 Tishomingo (V); Business & Financial

Institutions; Corrections;

Drug Policy; Finance;

Government Structure; Ports

& Marine Resources;

Universities & Colleges
Benjamin Suber District 8 Pubtic Property (C); R [Room 213 bsuber@senate.ms.gov
P.O, Box & Calhoun, Chickasaw, [Economic & Workforce S$ Office: (601) 359-4088
Bruce MS 38915 Lafayette, Pontotcc, [Development (V);

Yalobusha Accountability, Efficiency &

Transparency; Business &

Financial Institution;

Constitution; Finance;

Insurance; Judiciary B;

Wildlife, Fisheries & Parks
Jeff Tate |District 33 Veterans & Military Affairs )R |Room 405 jtate@senate.ms.gov
P.O. Box 1005 Clarke, Lauderdale ](C); Housing (V); $ Office: (601) 359-2224
Meridian MS 39302 Appropriations; Elections;

Joseph C. Thomas, Sr.
P.O. Box 524
Yazoo City MS 39194

District 22
Humphreys,
Madison, Sharkey,
Yazoo

Labor (V); Business &
Financial Institution;
Corrections; Finance;
Forestry; Insurance;
Investigate State Offices;
Judiciary B

Room 404
S Office: (601) 359-3232

jthomas@senate.ms.gov

DX-024-007

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Page 9 of 9

Mike Thompson
P.O. Box 280
Gulfport MS 39502

District 48
Hancock, Harrison

Ports & Marine Resources
(C); Environmental
Protection, Conservation &
Water Resources (V);
Accountability, Efficiency &
Transparency;
Appropriations; Constitution;
Enralled Bills; Gaming;
Judiciary A; Veterans &
Military Affairs

R [Room 213
S Office: (601) 359-4088

mthompson@senate.ms.gov

Angela Tumer Ford
P.O. Drawer 1500
West Point MS 39773

District 16
Clay, Lowndes,
Noxubee, Oktibbeha

Drug Policy (C); Executive
Contingent Fund (V);
Accountability, Efficiency &
Transparency;
Appropriations; County
Affairs; Environmental
Protection, Conservation &
Water Resources; Judiciary
A; Local & Private; Public
Health & Welfare

D |Room 409
$ Office: (601) 359-3237

aford@senate.ms.gov

Neil S. Whaley
P.O. Box 1018
Jackson MS 39215

District 10
Lafayette, Marshall,
Tate, Union

Wildlife, Fisheries & Parks
(C); Local & Private (V);
Agriculture; Business &
Financial Institution; Ethics;
Finance; Highways &
Transportation; Insurance;
Rules

R [Room 213
S Office: (601) 359-4088

nwhaley@senate.ms.gov

Brice Wiggins
4201 Farnsworth Avenue
Pascagoula MS 39567

District 52
Jackson

Judiciary A (C);
Appropriations; Education;
Executive Contingent Fund;
Judiciary B; Labor; Ports &
Marine Resources; Public
Health & Welfare; Tourism

R {Room 409
S Office: (601) 359-3237

bwiggins@senate.ms.gov

Bart Williams
3111 Old Hwy 12
Starkville MS 39759

|District 15
Choctaw,
Montgomery,
Oktibbeha, Webster

Technolagy (C); Energy (V);
Accountability, Efficiency &
Transparency;
Appropriations; Economic &
Workforce Development;
Environmental Protection,
Conservation & Water
Resources; Highways &
Transportation; Tourism;
Universities & Colleges

R jRoom 213
§ Office: (601) 359-4088

bwilliams@senate.ms.gov

Charles A "Chuck"
Younger

P.O. Box 1018
Jackson MS 39215

District 17
Lowndes, Monroe,
Oktibbeha

Agriculture (C); Gaming (V);
Energy; Ethics; Finance;
Highways & Transportation;
Insurance; State Library:
Wildlife, Fisheries & Parks

R [Room 404
S Office: (601) 359-3232

cyounger@senate.ms.gov

DX-024-008

